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EXHIBIT “B”
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,! Case No. 08-13141 (KJC)
Debtors. Jointly Administered

AFFIDAVIT OF ORDINARY COURSE PROFESSIONAL

STATE OF [ ]

38.5

Smee Ne

COUNTY OF [ ]

[AFFIANT], being duly sworn, deposes and says:

1. T am a [position] of [the firm] (the “Firm”), which maintains offices at

[Address].

' “rhe Debtors in these chapter 11 cases, along with the last four digits of each Deblor’s federal tax identification number, ure; Tribune Company
(0355), 435 Production Company (8865); 5800 Sunset Productions Inc, (5510), Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306), Candle Holdings Corporation (5626), Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channei 40, Inc.
(3844); Chicago Avenue Construction Company (8634), Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579),
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc, (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661): Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0259); ForSaleByOwner.com Referral Services, LIC (9205), Fortify Holdings Corporation
(5628), Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416), Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903), Hoy, LLC (8033), Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479), JuliusAir Company Il, LLC; K1AH Inc. (4014); KPLR, Inc.
(7943), KSWB Inc. (7035); KTLA Inc. (3404); KWGN Ine, (5347) Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893),
Neacomm, Inc. (7208); New Mass. Media, Inc. (9553); New River Center Maintenance Association, Inc, (5621); Newscom Services, Inc. (4817),
Newspaper Readers Agency, Inc. (7335), North Michigan Production Company (5466); North Orange Avenue Properties, Inc. {4036}, Oak
Brook Productions, Inc. (2598), Orlando Sentinef Communications Company (3775), Patuxent Publishing Company (4223), Publishers Forest
Products Co. of Washington (4750); Sentinel Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc.
(3603); Southern Connecticut Newspapers, Inc. (1455), Star Community Publishing Group, LLC (5642); Stemweb, Inc, (4276), Sun-Sentinel
Company (2684); The Baltimore Sun Company (6880); The Daily Press, Inc, (9368); The Hartford Courant Company (3490), The Morning Call,
Inc. (7560); The Other Company LLC (5337), Times Mirror Land and Timber Company (7088), Times Mirror Payroll Processing Company, Inc.
(4227); Times Mirror Services Company, Inc. (1326); TMLH 2, Inc. (0720), TMLS L, Inc. (0719); TMS Entertainment Guides, Inc. (6323);
‘Tower Distribution Company (9066); Towering T Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438), Tribune
Broadcasting Company (2569); Tribune Broadcasting Holdco, LLC (2534); Tribune Broadcasting News Network, Inc, (1088), Tribune California
Properties, Inc. (1629), Tribune Direct Marketing, Inc. (1479); ‘Tribune Entertainment Company (6232), Tribune Entertainment Production
Company (5393): Tribune Finance, LLC (2537): Tribune Finance Service Center, Inc. (7844), Tribune License, Ine. (1035); Fribune Los
Angeles, Inc. (4522), Tribune Manhattan Newspaper Holdings, Inc. (7279), Tribune Media Net, Inc. (7847), Tribune Media Services, Inc.
(1080); Tribune Network Holdings Company (9936): Tribune New York Newspaper Holdings, LLC (7278), Tribune NM, Inc. (9939), Tribune
Publishing Company (9720); ‘Tribune Television Company (1634); Tribune Television Holdings, Inc. (1630), Tribune Television New Orleans,
Inc. (4055); Tribune Television Northwest, Ine. (2975); VatuMail, Inc. (9512); Virginia Comnwnity Shoppers, LLC (4025); Virginia Gazette
Companies, LLC (9587), WATE, LLC (7384); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting
Company (9530); WLVE Inc, (8074); WPIX, Inc. (0191): and WTXX Inc. (1268), The Debtors’ corporate headquarters and the mailing address
for each Debtor is 435 North Michigan Avenue, Chicago, Hlineis 60611.
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2. This Affidavit is submitted in connection with an Order of the United
States Bankruptcy Court for the District of Delaware, entered on or about , 2009,

authorizing the above-captioned debtors and debtors in possession (each a “Debtor” and

collectively, the “Debtors”), to employ and compensate certain professionals in the ordinary

course of business during the pendency of these chapter 11 cases.

3, The Firm has represented and advised the Debtors as | | with
respect to certain aspects of the Debtors’ business operations. The Debtors have requested, and
the Firm has agreed, to continue to provide such services to the Debtors on a postpetition basis

during the course of these chapter 11 cases.

4, The Firm’s current customary rates, subject to change from time to time
are . In the normal course of its business, the Firm revises its billing rates on
of each year and requests that, effective of each year, the aforementioned rates

be revised to the regular hourly rates which will be in effect at that time.

5. In the ordinary course of its business, the Firm maintains a database for
purposes of performing “conflicts checks.” The Firm’s database contains information regarding
the Company’s present and past representations. Pursuant to Federal Rule of Bankruptcy
Procedure 201 4(a), I obtained a list of the entities identified in Rule 2014(a) from counsel to the
Debtors for purposes of searching the aforementioned database and determining the
connection(s) which the Firm has with such entities. The Firm’s search of the database identified
the following connections:

[Disclose Connections Here]
6. Neither I nor [any principal, partner, director, officer, etc.] of, or

professional employed by, the Firm has agreed to share or will share any portion of the

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compensation to be recetved from the Debtors with any other person other than the principals
and regular employees of the Firm, as permitted by 11 U.S.C. §504(b).

7. I understand that any compensation paid to the Firm is subject to
disallowance and/or disgorgement under 11 U.S.C. § 328(c) and applicable law.

8. Neither I nor [any principal, partner, director, officer, etc.] of, or
professional employed by, the Firm, insofar as I have been able to ascertain, holds, or represents
any interest adverse to the Debtors or their estates with respect to the matter(s) upon which the
Firm is to be employed. If the Firm is not an law firm, the Firm does not hold an interest adverse
to the Debtors’ estates and is a “disinterested person” as that term is defined in 11 U.S.C. §
101(14).

9. The Debtors owe the Firm $ [ | for prepetition services.

The Firm [is/is not} waiving any and all claims that it has against the Debtors, including the
amount referenced in the prior sentence.

10. The Firm currently holds a retainer from the Debtors in the approximate
amount of $ . The Firm will apply the outstanding retainer balance as fees and
expenses become due pursuant to this Court’s order authorizing the employment of “ordinary
course” professionals.

il. As of the Petition Date, the Firm [was/was not} party to a services
agreement with the Debtors. [A copy of such agreement, together with any agreement(s) that
the Firm and the Debtors intend to govern their relationship after the Petition Date, is
attached as Exhibit 1 to this Affidavit].

12. The Firm is conducting further inquires regarding its retention by any

creditors of the Debtors, and upon conclusion of that inquiry, or at any time during the period of
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its employment, if the Firm should discover any facts bearing on the matters described herein,

the Firm will supplement the information contained in this Affidavit.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on , 2009

Affiant

Sworn to and subscribed before me
this day of 2009

Notary Public
